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                                   STATEMENT OF FACTS

        Your affiant,                   , is a Special Agent of the Federal Bureau of Investigation.
In my duties as a Special Agent, I am currently assigned to the Joint Terrorism Task Force,
specifically specializing in domestic terrorism matters. Currently, I am tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am
authorized by law or by a government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                      CHRISTINA KELSO

         On January 27, 2021, through a search warrant execution on another individual’s phone,
agents discovered a group registered to Telegram Messenger (“Telegram”), a messaging app that
offers end-to-end encryption of chats and messages. The search warrant identified multiple
Telegram groups that contained discussion of travel to Washington D.C. in November 2020 and
January 2021. One of the groups was named “The California Patriots- DC Brigade” (“DC
Brigade”). The “About” section of the Telegram group stated: “This group will serve as the Comms
for able bodied individuals that are going to DC on Jan 6. Many of us have not met before and we
are all ready and willing to be engaged in this fight. We will come together for this moment that
we are all called upon.” An individual with the username “Christina Kelso,” who as described
below I have identified as CHRISTINA KATHERINE KELSO (“KELSO”), was a member of the
DC Brigade Telegram group. On January 1, 2021, the owner of the DC Brigade Telegram group,
R.T., posted, “As you join, please provide the following. 1. Previous Law enforcement/military?
What branch and specialty-. 2. Special skills relevant to our endeavors-. 3. Picture of yourself and
name (if you are ok) so we can familiarize ourselves. 4. Date and time of arrival-.” On January 2,
2021, KELSO responded and wrote, “Trained in self-defense, Iyengar Yoga, and Modern
Buddhism (New Kadampa). Also devout Christian. Arriving Monday midday. Special skills: knife
throwing but also, Peace Pilgrim. I see the light in everyone. I wouldn’t call myself a diplomat but
I have the power to diffuse anger... Modern Buddhism AND Christian faith have given me eyes to
see. I’m also great at herbalist First Aid. And I was a Girl Scout. ‘Be prepared:’ always. Peace.”

         On or about March 17, 2021, KELSO was voluntarily interviewed by the FBI. In this
interview, KELSO claimed that she traveled to Washington, D.C. for January 6, 2021, to support
the group organized by R.T. and A.H. KELSO said that she rented an SUV from a local Enterprise
Rent-A-Car and drove to Washington, D.C. by herself, arriving on the morning of January 5, 2021.
KELSO attempted to check in to the hotel where she had booked a room, but was denied her
reservation because she refused to wear a mask. KELSO then got a reservation at the Kimpton
George Hotel, where she knew R.T. and A.H. were also staying. KELSO stated that, on the
morning of January 6, 2021, she met with R.T. and A.H. at the Kimpton George Hotel. Eventually,
KELSO said that she was separated from R.T. and A.H. KELSO stated that she walked toward
the U.S. Capitol building with a crowd. When she arrived at the Capitol, KELSO advised she was
at the front of the crowd near a skirmish line where she and the other protesters were pushing back
against the police. As they began pushing against the police, KELSO advised that was when she
was pepper sprayed, which was effective in getting her to stop pushing. KELSO stated that she
saw individuals entering the Capitol, but the closest she got was the bottom of the outside stairs.
KELSO stated that she was near the Capitol for three to four hours. She stated that everyone she
saw, including herself, was peacefully protesting. KELSO stated that she departed Washington,
D.C. On January 7, 2021, and returned to California either January 13 or 14, 2021. KELSO stated
that, prior to January 6, 2021, she had been listening to podcasts that called for a “peaceful
occupation” of the Capitol. KELSO stated that she had been prepared to take part in such an
occupation, but after being pepper sprayed, she changed her mind.
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In this open-source video, the individual recording asks KELSO, “If Congress does certify the
election of Biden . . . would you accept that?” KELSO responded, “No, I wouldn’t. I would not
accept it. But because that’s just fake news, so I don’t think it’s gonna happen because there’s too
many of us who know, like, just the depth of the fraud.” She added, “if we’re gonna die anyway,
I’ll die for my freedom, 100%.” When she was asked for her name, KELSO responded, “Christina.
Christina Kelso.”

        Later that afternoon, at the U.S. Capitol building, open-source video footage depicts
KELSO on the lower portion of the Lower West Terrace, near a police line. As police were
establishing and holding a police line in this area, KELSO rushed toward the police. KELSO is
wearing a light blue and red jacket with the words “SAN MARCOS” visible on the back. The
below images are stills from this open-source video, in which KELSO is indicated in red.
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As depicted in the body-worn camera footage, after being pepper sprayed, and as she clung to the
bike rack, police repeatedly offered KELSO medical attention, which she repeatedly refused.

        In Facebook messages with A.H.—a leader of the DC Brigade Telegram group—Kelso
discussed her experience on January 6, 2021. On January 10, 2021, discussing the possibility of
the FBI reaching out to her, KELSO wrote, “So FBI couldn’t solve the murder of Biggie Smalls
but they definitely have the Capitol figured out. I was on the line. I got pepper sprayed pretty
good. I couldn’t see for 20, 30 minutes. But of course I was never violent. Peaceful, pissed off
Patriots.” She added, “Are we thinking inauguration?” The next day, KELSO wrote to A.H., “I
made some new friends along the way and I’ve half a mind to return later this month.” She added,
“Thank you for the good advice re FBI. My friend was definitely spooked and it cut short my visit
slightly but I’m keen to get home. I did nothing wrong so I’m mot afraid.”

       I have spoken with special agents present for the March 17, 2021 interview of KELSO.
Those agents have reviewed relevant open-source and body-worn camera footage and have
concluded that the person featured in the screenshots above, who I identify in this Statement of
Facts as KELSO, is, in fact, KELSO.

        Based on the foregoing, your affiant submits there is probable cause to believe that KELSO
violated 18 U.S.C. § 1512(c)(2), which makes it a crime to corruptly obstruct, influence, or impede
an official proceeding, and to attempt to do so. A proceeding before Congress is an “official
proceeding” for purposes of 18 U.S.C. § 1512(c)(2), as defined in 18 U.S.C. § 1515(a)(1)(B).

       Your affiant submits there is also probable cause to believe that KELSO violated 18 U.S.C.
§ 231(a)(3), which makes it a crime to commit or attempt to commit any act to obstruct, impede,
or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
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performance of his official duties incident to and during the commission of a civil disorder which
is any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function.

        Your affiant submits that there is also probable cause to believe that KELSO violated 18
U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain in any
restricted building or grounds without lawful authority to do so; and (2) knowingly, and with intent
to impede or disrupt the orderly conduct of Government business or official functions, engage in
disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds
when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government
business or official functions. For purposes of Section 1752 of Title 18, a “restricted building”
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will
be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that KELSO violated 40 U.S.C.
§ 5104(e)(2)(D), which makes it a crime to willfully and knowingly (D) utter loud, threatening, or
abusive language, or engage in disorderly or disruptive conduct, at any place in the Grounds or in
any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a
session of Congress or either House of Congress, or the orderly conduct in that building of a
hearing before, or any deliberations of, a committee of Congress or either House of Congress.




                                                     FEDERAL BUREAU OF
                                                     INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 2nd day of May 2024.                                   Zia M. Faruqui
                                                                    2024.05.02
                                                     ___________________________________
                                                                    11:08:40 -04'00'
                                                     ZIA M. FARUQUI
                                                     U.S. MAGISTRATE JUDGE
